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 8                                   UNITED STATES DISTRICT COURT
 9                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11 GALL BROTHERS GENERAL                              Case No. 2:20-cv-05596
   ENGINEERING, INC., a California
12 Corporation,                                       ___________
13                      Plaintiff,                    STIPULATED PROTECTIVE
                                                      ORDER
14             vs.
15 WESCO INSURANCE COMPANY, a
   business entity of unknown form; and
16 DOES 1 through 100, inclusive,,
17                      Defendants.
18
19 1.         A.        PURPOSES AND LIMITATIONS
20            Discovery in this action is likely to involve production of confidential,
21 proprietary, or private information for which special protection from public
22 disclosure and from use for any purpose other than prosecuting this litigation may
23 be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
24 enter the following Stipulated Protective Order. The parties acknowledge that this
25 Order does not confer blanket protections on all disclosures or responses to
26 discovery and that the protection it affords from public disclosure and use extends
27 only to the limited information or items that are entitled to confidential treatment
28 under the applicable legal principles. The parties further acknowledge, as set forth in

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 1 Section 12.3, below, that this Stipulated Protective Order does not entitle them to
 2 file confidential information under seal; Civil Local Rule 79-5 sets forth the
 3 procedures that must be followed and the standards that will be applied when a party
 4 seeks permission from the Court to file material under seal.
 5            B.        GOOD CAUSE STATEMENT
 6            This action is likely to involve confidential, privileged, and/or proprietary
 7 information for which special protection from public disclosure and from use for
 8 any purpose other than prosecution of this action is warranted. Such confidential
 9 and proprietary materials and information consist of, among other things,
10 confidential and/or proprietary information concerning Wesco Insurance Company’s
11 (“Wesco”) underwriting, confidential and/or privileged communications between
12 Gall Brothers General Engineering, Inc. (“Gall Brothers”) and Wesco regarding the
13 underlying action entitled, Pursley v. Gall Brothers Engineering, Inc., et al., Los
14 Angeles County Superior Court, Case No. 18AVCV00058 (the “Pursley Action”),
15 confidential business or financial information, information regarding confidential
16 business practices, or other confidential research, development, or commercial
17 information otherwise generally unavailable to the public, or which may be
18 privileged or otherwise protected from disclosure under state or federal statutes,
19 court rules, case decisions, or common law. Accordingly, to expedite the flow of
20 information, to facilitate the prompt resolution of disputes over confidentiality of
21 discovery materials, to adequately protect information the parties are entitled to keep
22 confidential, to ensure that the parties are permitted reasonable necessary uses of
23 such material in preparation for and in the conduct of trial, to address their handling
24 at the end of the litigation, and serve the ends of justice, a protective order for such
25 information is justified in this matter. It is the intent of the parties that information
26 will not be designated as confidential for tactical reasons and that nothing be so
27 designated without a good faith belief that it has been maintained in a confidential,
28 non-public manner, and there is good cause why it should not be part of the public

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 1 record of this case.
 2 2.         DEFINITIONS
 3            2.1       Action: this pending federal insurance coverage lawsuit.
 4            2.2       Challenging Party: a Party or Non-Party that challenges the designation
 5 of information or items under this Order.
 6            2.3       “CONFIDENTIAL” Information or Items: information (regardless of
 7 how it is generated, stored or maintained) or tangible things that qualify for
 8 protection under Federal Rule of Civil Procedure 26(c), and as specified above in
 9 the Good Cause Statement.
10            2.4       Counsel: Outside Counsel of Record and House Counsel (as well as
11 their support staff).
12            2.5       Designating Party: a Party or Non-Party that designates information or
13 items that it produces in disclosures or in responses to discovery as
14 “CONFIDENTIAL.”
15            2.6       Disclosure or Discovery Material: all items or information, regardless
16 of the medium or manner in which it is generated, stored, or maintained (including,
17 among other things, testimony, transcripts, and tangible things), that are produced or
18 generated in disclosures or responses to discovery in this matter.
19            2.7       Expert: a person with specialized knowledge or experience in a matter
20 pertinent to the litigation who has been retained by a Party or its counsel to serve as
21 an expert witness or as a consultant in this Action.
22            2.8       House Counsel: attorneys who are employees of a party to this Action.
23 House Counsel does not include Outside Counsel of Record or any other outside
24 counsel.
25            2.9       Non-Party: any natural person, partnership, corporation association or
26 other legal entity not named as a party to this action.
27            2.10 Outside Counsel of Record: attorneys who are not employees of a party
28 to this Action but are retained to represent or advise a party to this Action and have

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 1 appeared in this Action on behalf of that party or are affiliated with a law firm which
 2 has appeared on behalf of that party, and includes support staff.
 3            2.11 Party: any party to this Action, including all of its officers, directors,
 4 employees, consultants, retained experts, and Outside Counsel of Record (and their
 5 support staffs).
 6            2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 7 Discovery Material in this Action.
 8            2.13 Professional Vendors: persons or entities that provide litigation support
 9 services (e.g., photocopying, videotaping, translating, preparing exhibits or
10 demonstrations, and organizing, storing, or retrieving data in any form or medium)
11 and their employees and subcontractors.
12            2.14 Protected Material: any Disclosure or Discovery Material that is
13 designated as "CONFIDENTIAL."
14            2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
15 from a Producing Party.
16 3.         SCOPE
17            The protections conferred by this Stipulation and Order cover not only
18 Protected Material (as defined above), but also (1) any information copied or
19 extracted from Protected Material; (2) all copies, excerpts, summaries, or
20 compilations of Protected Material; and (3) any testimony, conversations, or
21 presentations by Parties or their Counsel that might reveal Protected Material.
22            Any use of Protected Material at trial shall be governed by the orders of the
23 trial judge. This Order does not govern the use of Protected Material at trial.
24 4.         DURATION
25            Even after final disposition of this litigation, the confidentiality obligations
26 imposed by this Order shall remain in effect until a Designating Party agrees
27 otherwise in writing or a court order otherwise directs. Final disposition shall be
28 deemed to be the later of (1) dismissal of all claims and defenses in this Action, with

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 1 or without prejudice; and (2) final judgment herein after the completion and
 2 exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 3 including the time limits for filing any motions or applications for extension of time
 4 pursuant to applicable law.
 5 5.         DESIGNATING PROTECTED MATERIAL
 6            5.1       Exercise of Restraint and Care in Designating Material for Protection.
 7            Each Party or Non-Party that designates information or items for protection
 8 under this Order must take care to limit any such designation to specific material
 9 that qualifies under the appropriate standards. The Designating Party must designate
10 for protection only those parts of material, documents, items, or oral or written
11 communications that qualify so that other portions of the material, documents,
12 items, or communications for which protection is not warranted are not swept
13 unjustifiably within the ambit of this Order.
14            Mass, indiscriminate, or routinized designations are prohibited. Designations
15 that are shown to be clearly unjustified or that have been made for an improper
16 purpose (e.g., to unnecessarily encumber the case development process or to impose
17 unnecessary expenses and burdens on other parties) may expose the Designating
18 Party to sanctions.
19            If it comes to a Designating Party's attention that information or items that it
20 designated for protection do not qualify for protection, that Designating Party must
21 promptly notify all other Parties that it is withdrawing the inapplicable designation.
22            5.2       Manner and Timing of Designations. Except as otherwise provided in
23 this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
24 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
25 under this Order must be clearly so designated before the material is disclosed or
26 produced.
27            Designation in conformity with this Order requires:
28            (a)       for information in documentary form (e.g., paper or electronic

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 1                      documents, but excluding transcripts of depositions or other pretrial or
 2                      trial proceedings), that the Producing Party affix at a minimum, the
 3                      legend "CONFIDENTIAL" (hereinafter "CONFIDENTIAL legend"),
 4                      to each page that contains protected material. If only a portion or
 5                      portions of the material on a page qualifies for protection, the
 6                      Producing Party also must clearly identify the protected portion(s) (e.g.,
 7                      by making appropriate markings in the margins).
 8            A Party or Non-Party that makes original documents available for inspection
 9 need not designate them for protection until after the inspecting Party has indicated
10 which documents it would like copied and produced. During the inspection and
11 before the designation, all of the material made available for inspection shall be
12 deemed "CONFIDENTIAL." After the inspecting Party has identified the
13 documents it wants copied and produced, the Producing Party must determine which
14 documents, or portions thereof, qualify for protection under this Order. Then, before
15 producing the specified documents, the Producing Party must affix the
16 "CONFIDENTIAL legend" to each page that contains Protected Material. If only a
17 portion or portions of the material on a page qualifies for protection, the Producing
18 Party also must clearly identify the protected portion(s) (e.g., by making appropriate
19 markings in the margins).
20            (b)       for testimony given in depositions that the Designating Party identify
21                      the Protected Material on the record, before the close of the deposition;
22                      after identification of Protected Material during a deposition, the
23                      transcript of such deposition will temporarily be treated as
24                      CONFIDENTIAL until 21 days after receipt of the full and final copy
25                      of such transcript by the Designating Party, during which time the
26                      Designating Party shall designate those specific portions of the
27                      transcript containing Protected Material, which will continue to be
28                      deemed CONFIDENTIAL after the 21 day period.

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 1            (c)       for information produced in some form other than documentary and for
 2                      any other tangible items, that the Producing Party affix in a prominent
 3                      place on the exterior of the container or containers in which the
 4                      information is stored the legend "CONFIDENTIAL." If only a portion
 5                      or portions of the information warrants protection, the Producing
 6                      Party, to the extent practicable, shall identify the protected portion(s).
 7            5.3       Inadvertent Failures to Designate. If timely corrected, an inadvertent
 8 failure to designate qualified information or items does not, standing alone, waive
 9 the Designating Party's right to secure protection under this Order for such material.
10 Upon timely correction of a designation, the Receiving Party must make reasonable
11 efforts to assure that the material is treated in accordance with the provisions of this
12 Order.
13 6.         CHALLENGING CONFIDENTIALITY DESIGNATIONS
14            6.1       Timing of Challenges. Any Party or Non-Party may challenge a
15 designation of confidentiality at any time that is consistent with the Court's
16 Scheduling Order.
17            6.2       Meet and Confer. The Challenging Party shall initiate the dispute
18 resolution process under Local Rule 37.1 et seq.
19            6.3       The burden of persuasion in any such challenge proceeding shall be on
20 the Designating Party. Frivolous challenges, and those made for an improper
21 purpose (e.g., to harass or impose unnecessary expenses and burdens on other
22 parties) may expose the Challenging Party to sanctions. Unless the Designating
23 Party has waived or withdrawn the confidentiality designation, all parties shall
24 continue to afford the material in question the level of protection to which it is
25 entitled under the Producing Party's designation until the Court rules on the
26 challenge.
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28 / / /

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 1 7.         ACCESS TO AND USE OF PROTECTED MATERIAL
 2            7.1       Basic Principles. A Receiving Party may use Protected Material that is
 3 disclosed or produced by another Party or by a Non-Party in connection with this
 4 Action only for prosecuting, defending, or attempting to settle this Action. Such
 5 Protected Material may be disclosed only to the categories of persons and under the
 6 conditions described in this Order. When the Action has been terminated, a
 7 Receiving Party must comply with the provisions of section 13 below (FINAL
 8 DISPOSITION).
 9            Protected Material must be stored and maintained by a Receiving Party at a
10 location and in a secure manner that ensures that access is limited to the persons
11 authorized under this Order.
12            7.2       Disclosure of "CONFIDENTIAL" Information or Items. Unless
13 otherwise ordered by the court or permitted in writing by the Designating Party, a
14 Receiving Party may disclose any information or item designated
15 "CONFIDENTIAL" only to:
16            (a)       the Receiving Party's Outside Counsel of Record in this Action, as well
17                      as employees of said Outside Counsel of Record to whom it is
18                      reasonably necessary to disclose the information for this Action;
19            (b)       the officers, directors, and employees (including House Counsel) of the
20                      Receiving Party to whom disclosure is reasonably necessary for this
21                      Action;
22            (c)       Experts (as defined in this Order) of the Receiving Party to whom
23                      disclosure is reasonably necessary for this Action and who have signed
24                      the "Acknowledgment and Agreement to Be Bound" (Exhibit A);
25            (d)       the court and its personnel;
26            (e)       court reporters and their staff;
27            (f)       professional jury or trial consultants, mock jurors, and Professional
28                      Vendors to whom disclosure is reasonably necessary for this Action

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 1                      and who have signed the "Acknowledgment and Agreement to Be
 2                      Bound" (Exhibit A);
 3            (g)       the author or recipient of a document containing the information or a
 4                      custodian or other person who otherwise possessed or knew the
 5                      information;
 6            (h)       during their depositions, witnesses, and attorneys for witnesses, in the
 7                      Action to whom disclosure is reasonably necessary provided: (1) the
 8                      deposing party requests that the witness sign the form attached as
 9                      Exhibit 1 hereto; and (2) they will not be permitted to keep any
10                      confidential information unless they sign the "Acknowledgment and
11                      Agreement to Be Bound" (Exhibit A), unless otherwise agreed by the
12                      Designating Party or ordered by the court. Pages of transcribed
13                      deposition testimony or exhibits to depositions that reveal Protected
14                      Material may be separately bound by the court reporter and may not be
15                      disclosed to anyone except as permitted under this Stipulated Protective
16                      Order; and
17            (i)       any mediator or settlement officer, and their supporting personnel,
18                      mutually agreed upon by any of the parties engaged in settlement
19                      discussions.
20 8.         PROTECTED MATERIAL SUBPOENAED OR ORDERED
21            PRODUCED IN OTHER LITIGATION
22            If a Party is served with a subpoena or a court order issued in other litigation
23 that compels disclosure of any information or items designated in this Action as
24 "CONFIDENTIAL," that Party must:
25            (a)       promptly notify in writing the Designating Party. Such notification
26                      shall include a copy of the subpoena or court order;
27            (b)       promptly notify in writing the party who caused the subpoena or order
28                      to issue in the other litigation that some or all of the material covered

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 1                      by the subpoena or order is subject to this Protective Order. Such
 2                      notification shall include a copy of this Stipulated Protective Order; and
 3            (c)       cooperate with respect to all reasonable procedures sought to be
 4                      pursued by the Designating Party whose Protected Material may be
 5                      affected.
 6            If the Designating Party timely seeks a protective order, the Party served with
 7 the subpoena or court order shall not produce any information designated in this
 8 action as "CONFIDENTIAL" before a determination by the court from which the
 9 subpoena or order issued, unless the Party has obtained the Designating Party's
10 permission. The Designating Party shall bear the burden and expense of seeking
11 protection in that court of its confidential material and nothing in these provisions
12 should be construed as authorizing or encouraging a Receiving Party in this Action
13 to disobey a lawful directive from another court.
14 9.         A NON-PARTY'S PROTECTED MATERIAL SOUGHT TO BE
15            PRODUCED IN THIS LITIGATION
16            (a)       The terms of this Order are applicable to information produced by a
17                      Non-Party in this Action and designated as "CONFIDENTIAL." Such
18                      information produced by Non-Parties in connection with this litigation
19                      is protected by the remedies and relief provided by this Order. Nothing
20                      in these provisions should be construed as prohibiting a Non-Party
21                      from seeking additional protections.
22            (b)       In the event that a Party is required, by a valid discovery request, to
23                      produce a Non-Party's confidential information in its possession, and
24                      the Party is subject to an agreement with the Non-Party not to produce
25                      the Non-Party's confidential information, then the Party shall:
26                      (1)   promptly notify in writing the Requesting Party and the Non-
27                            Party that some or all of the information requested is subject to a
28                            confidentiality agreement with a Non-Party;

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 1                      (2)   promptly provide the Non-Party with a copy of the Stipulated
 2                            Protective Order in this Action, the relevant discovery request(s),
 3                            and a reasonably specific description of the information
 4                            requested; and
 5                      (3)   make the information requested available for inspection by the
 6                            Non-Party, if requested.
 7            (c)       If the Non-Party fails to seek a protective order from this Court within
 8                      14 days of receiving the notice and accompanying information, the
 9                      Receiving Party may produce the Non-Party’s confidential information
10                      responsive to the discovery request. If the Non-Party timely seeks a
11                      protective order, the Receiving Party shall not produce any information
12                      in its possession or control that is subject to the confidentiality
13                      agreement with the Non-Party before a determination by the Court.
14                      Absent a court order to the contrary, the Non-Party shall bear the
15                      burden and expense of seeking protective in this Court of its Protected
16                      Material.
17 10.        UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
18            If a Receiving Party leans that, by inadvertence or otherwise, it has disclosed
19 Protected Material to any person or in any circumstance not authorized under this
20 Stipulated Protective Order, the Receiving Party must immediately (a) notify in
21 writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
22 to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
23 persons to whom unauthorized disclosures were made of all the terms of this Order,
24 and (d) request such person or persons execute the “Acknowledgment and
25 Agreement to Be Bound” that is attached hereto as Exhibit A.
26 11.        INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
27            PROTECTED MATERIAL
28            When a Producing Party gives notice to Receiving Parties that certain

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 1 inadvertently produced material is subject to a claim of privilege or other protection,
 2 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 3 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
 4 may be established in an e-discovery order that provides for production without
 5 prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar
 6 as the parties reach an agreement on the effect of disclosure of a communication or
 7 information covered by the attorney-client privilege or work product protection, the
 8 parties may incorporate their agreement in the stipulated protective order submitted
 9 to the court.
10 12.        MISCELLANEOUS
11            12.1 Right to Further Relief. Nothing in this Order abridges the right of any
12 person to seek its modification by the Court in the future.
13            12.2 Right to Assert Other Objections. By stipulating to the entry of this
14 Protective Order, no Party waives any right it otherwise would have to object to
15 disclosing or producing any information or item on any ground not addressed in this
16 Stipulated Protective Order. Similarly, no Party waives any right to object on any
17 ground to use in evidence of any of the material covered by this Protective Order.
18            12.3 Filing Protected Material. A Party that seeks to file under seal any
19 Protected Material must comply with Civil Local Rule 79-5. Protected Material may
20 only be filed under seal pursuant to a court order authorizing the sealing of the
21 specific Protected Material at issue. If a Party's request to file Protected Material
22 under seal is denied by the court, then the Receiving Party may file the information
23 in the public record unless otherwise instructed by the court.
24 13.        FINAL DISPOSITION
25            After the final disposition of this Action, as defined in paragraph 4, within
26   60 days of a written request by the Designating Party, each Receiving Party must
27   return all Protected Material to the Producing Party or destroy such material.
28   However, the Parties and their representatives may maintain their files, in
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 1   continuing compliance with the terms of this Protective Order, those documents,
 2   testimony or other information necessary to comply with applicable legal or
 3   regulatory requirements.        At the conclusion of this case, unless other
 4   arrangements are agreed upon, each document and all copies thereof which have
 5   been designated as CONFIDENTIAL shall be maintained as CONFIDENTIAL
 6   and subject to the parties’ respective document retention/destruction policies.
 7            As used in this subdivision, "all Protected Material" includes all copies,
 8   abstracts, compilations, summaries, and any other format reproducing or
 9   capturing any of the Protected Material. Whether the Protected Material is
10   returned or destroyed, the Receiving Party must submit a written certification to
11   the Producing Party (and, if not the same person or entity, to the Designating
12   Party) by the 60 day deadline that (1) identifies (by category, where appropriate)
13   all the Protected Material that was returned or destroyed and (2) affirms that the
14   Receiving Party has not retained any copies, abstracts, compilations, summaries or
15   any other format reproducing or capturing any of the Protected Material.
16   Notwithstanding this provision, Counsel are entitled to retain an archival copy of all
17   pleadings, motion papers, trial, deposition, and hearing transcripts, legal
18   memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
19   work product, and consultant and expert work product, even if such materials contain
20   Protected Material. Any such archival copies that contain or constitute Protected
21   Material remain subject to this Protective Order as set forth in Section 4
22   (DURATION).
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                                  STIPULATED PROTECTIVE ORDER
 1 14.        VIOLATIONS
 2            Any violation of this Order may be punished by any and all appropriate
 3 measures including, without limitation, contempt proceedings and/or monetary
 4 sanctions.
 5            IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 6
 7 DATED: September 22, 2020               BRICE E. BRYAN & ASSOCIATES
 8
 9
                                           By:         /s/ Brice E. Bryan
10
                                                 Brice E. Bryan
11                                               Christopher J. Brantingham
12                                               Attorneys for Plaintiff
                                                 Gall Brothers General Engineering, Inc.
13
14 DATED: September 22, 2020               LEWIS BRISBOIS BISGAARD & SMITH                 LLP

15
16
17                                         By:         /s/ Rebecca R. Weinreich
                                                 Rebecca R. Weinreich
18                                               Monica M. Kalunian
19                                               Attorneys for Defendant
                                                 Wesco Insurance Company
20
21 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
22
23 DATED: October 21, 2020
24
                                                      _______________________________
25                                                    Honorable John E. McDermott
26                                                    United States Magistrate Judge

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 1                                        EXHIBIT A
 2                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3            I, __________________________ [print or type full name], of
 4 ____________________ [print or type full address], declare under penalty of
 5 perjury that I have read in its entirety and understand the Stipulated Protective Order
 6 that was issued by the United States District Court for the Central District of
 7 California on [date] in the case of Gall Brothers General Engineering, Inc. v. Wesco
 8 Insurance Company, et al., Case No. 2:20-cv-05596-PSG-JEM. I agree to comply
 9 with and to be bound by all the terms of this Stipulated Protective Order and I
10 understand and acknowledge that failure to so comply could expose me to sanctions
11 and punishment in the nature of contempt. I solemnly promise that I will not
12 disclose in any manner any information or item that is subject to this Stipulated
13 Protective Order to any person or entity except in strict compliance with the
14 provisions of this Order. I further agree to submit to the jurisdiction of the United
15 States District Court for the Central District of California for the purpose of
16 enforcing the terms of this Stipulated Protective Order, even if such enforcement
17 proceedings occur after termination of this action. I hereby appoint
18 ______________________ [print or type full name] of
19 _____________________________ [print or type full address and telephone
20 number] as my California agent for service of process in connection with this action
21 or any proceedings related to enforcement of this Stipulated Protective Order.
22 Date: _______________________________________
23
     City and State where sworn and signed: __________________________________
24
     Printed name: _________________________________
25
26 Signature: _____________________________________
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